                          NOTICE FROM THE U.S. TRUSTEE’S OFFICE WITH
                     INSTRUCTIONS AND INFORMATION FOR PARTICIPATING IN
                         TELEPHONIC SECTION 341 CREDITORS’ MEETINGS
          IN THE U.S. BANKRUPTCY COURT FOR THE WESTERN DISTRICT OF WASHINGTON


 For Chapter 7              Normal 341     Presiding Trustees             Call In Information
 Debtors Residing In        Location
 Whatcom County             Bellingham     Virginia A. Burdette           Conference Line: 1-888-396-5019
 Skagit County                             Dennis Lee Burman              Participant Code: 6032931
 San Juan County
 Clallam County             Bremerton      Michael P. Klein               Conference Line: 1-866-660-6472
 Jefferson County                          John S. Peterson               Participant Code: 8196120
 Kitsap County
 Snohomish County           Everett        Virginia A. Burdette           Conference Line: 1-866-763-1542
 Island County                             Dennis Lee Burman              Participant Code: 4624291
                                           Michael P. Klein
 King County                Seattle        Ronald G. Brown                Conference Line: 1-866-707-2446
                                           Nancy L. James                 Participant Code: 7204500
                                           Edmund J. Wood
 Pierce, Grays Harbor,      Tacoma         Brian Lowell Budsberg          Conference Line: 1-866-829-9875
 Thurston, Lewis and                       Terrence J. Donahue            Participant Code: 4230506
 Mason Counties                            Kathryn A. Ellis
                                           Mark D. Waldron
 Clark, Cowlitz,            Vancouver      Charles D. Carlson             Conference Line: 1-866-882-3107
 Pacific, Skamania                         Russell D. Garrett             Participant Code: 4674917
 and Wahkiakum                             Donald A. Thacker
 Counties
 ALL Chapter 12                            Virginia A. Burdette           Conference Line: 1-866-628-6911
 cases                                                                    Participant Code: 9032639
 ALL Chapter 13                            Jason Wilson-Aguilar           Conference Line: 1-866-880-5064
 cases                                     Michael G. Malaier             Participant Code: 6951575

 ALL Chapter 11                            U.S. Trustee’s Office          Conference Line: 1-866-741-6993
 Cases                                                                    Participant Code: 7578142


Identification Procedures:
Debtors should provide copies of their photo identification and proof of Social Security number to the presiding trustee
prior to the start of the section 341 meeting. Copies may be provided through debtor’s counsel or directly to the presiding
trustee if debtor is unrepresented. If such proof has not been provided, the examination of the debtor may go forward but
the meeting will be ultimately continued until the trustee has received proof of identification.
Preparation for the Call:
    -   Use a stable telephone line to avoid interruptions and background noise.
    -   Each call will have multiple parties; after connecting to the call please place your phone on mute and wait until
        your case is called before speaking.
    -   When your case is called, please speak loudly into the phone as the meeting is being audio recorded by the
        trustee.
    -   Debtors should be prepared and have copies of documents on which they can reasonably expect to be examined
        (petition, schedules, statement of financial affairs, tax returns, Rule 4002 documents, etc.) or any documents the
        trustee has indicated in advance that debtors should have available for questioning.




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